EXHIBIT NO        DESCRIPTION                                                                                                          BATES RANGE (if applicable)   (M)AY USE/(W)ILL USE
              1   NC State Health Plan Enhanced 80/20 PPO Plan Benefits Booklet Jan 1-Dec 31, 2016                                     PLAN DEF002650-002755         M
              2   Segal Consulting Memorandum To: Mona Moon From: Kristen R. Schatten, November 29,2016 RE Transgender Cost Estimate   PLAN DEF0006964-0006965       M
              3   Email Brad Young and Mona Moon RE WUNC:Gender Dysphoria Coverage                                                     PLAN DEF0029555-0029557       M
              4   Email From: Caroline Smart RE Gender Dysphoria Vote from December 2016 Board Meeting                                 PLAN DEF0006962-0012822       M
              5   Email From: BCBSNC Susan Murray re 2017 Gender Identity Dysphoria Claim Activity 3.6.17                              PLAN DEF0061645-0061648       M
              6   Email From: BCBSNC Susan Murray re Updated Gender Dysphoria Claim Information #s 11.3.17                             PLAN DEF0007940-0009075       M
              7   Email From: Lorraine Munk RE Message from Treasurer Folwell                                                          PLAN DEF0028665-0028666       M
              8   Email From: Onboardingcenter RE NCSU Training Program 8.3.16                                                                                       M
              9   Email From: Liz Milks To: J. McKeown Re Urgent NCSU Documentation Needed 8.18.16                                     Univ.Defs0001690              M
             10   Form ORP-1 J. McKeown 8.4.16                                                                                         Univ.Defs0001717              M
             11   W-2 2017 NC State University Julia O'Neal McKeown                                                                                                  M
             12   NC State Terms and Conditions of Employment                                                                          Univ.Defs0001707-10           M
             13   NC State Health Plan Traditional 70/30 PPO Plan Benefits Booklet Jan 1-Dec 31, 2016                                  PLAN DEF0116888-0116988       M
             14   Carrboro Community Health Center Office Visit J. McKeown 11.2.2020 Patient Profile                                   KADEL004717-004720            M
             15   Carrboro Community Health Center Office Visit J. McKeown 11.2.2020 Patient Profile                                   KADEL004710-004712            M
             16   Carrboro Community Health Center Office Visit J. McKeown 11.2.2020 Patient Profile                                   KADEL004677-004680            M
             17   Financial Summary 1.8.1801.8.21 Pharmacy J. McKeown                                                                                                M
             18   Prescription Orders; Estradiol Valerate CVS 1.5.21                                                                                                 M
             19   Duke Health Initial Consult J. McKeown 3.16.2018                                                                     KADEL004609-004616            M
             20   Duke University Letter to Dr. Keelee MacPhee 6.14.18                                                                 PLAN DEF0132713               M
             21   Letter from Dr. Keelee MacPhee 6.28.18                                                                               PLAN DEF0132711               M
             22   Letter to Dr. Keelee MacPhee from Lori Oshrain 4.21.18                                                               PLAN DEF0132712               M
             23   Renaissance Plastic and Reconstructive Surgery, PA New Patient Encounter 3.20.18                                     PLAN DEF0132708-0132710       M
             24   Duke Health Itemized Services 7.11.19 J. McKeown                                                                     KADEL004644-004649            M
             25   Gender Dysphoria                                                                                                     PLAN DEF 202999-203007        M
             26   Encounter #15 Thonen-Fleck 9.2.16                                                                                    KADEL006584-006616            M
             27   Encounter Thonen-Fleck 9.15.16                                                                                       KADEL006536-006544            M
             28   Encounter Thonen-Fleck 11.8.16                                                                                       KADEL006532-006559            M
             29   Encounter Thonen-Fleck 11.23.16                                                                                      KADEL006530-006531            M
             30   The Center for Holistic Healing PC Visit Summary 5.22.17                                                             KADEL006196-006191            M
             31   Wake Forest Baptist Medical Center Visit Thonen-Fleck 7.13.17                                                        KADEL006673-006682            M
             32   The Center for Holistic Healing PC Visit Summary 9.20.17                                                             KADEL006190                   M
             33   Wake Forest Baptist Medical Center Visit Thonen-Fleck 9.21.17                                                        KADEL006683-006684            M
             34   Wake Forest Baptist Medical Center Visit Thonen-Fleck 10.13.17                                                       KADEL006685-006692            M
             35   The Center for Holistic Healing PC Visit Summary Thonen-Fleck 10.31.17                                               KADEL006189-006186            M
             36   Wake Forest Baptist Medical Center Visit Thonen-Fleck 11.28.17                                                       KADEL006695-006699            M
             37   Wake Forest Baptist Medical Center Initial Consult 1.2.18                                                            KADEL006241-006244            M
             38   The Center for Holistic Healing PC Visit Summary 1.2.18                                                              KADEL006185                   M
             39   Wake Forest Baptist Medical Center Visit 1.10.18                                                                     KADEL006254-006259            M
             40   Psychiatric Progess Notes Thonen-Fleck 11.14.18                                                                      KADEL007688-007706            M
             41   Wake Forest Baptist Medical Center Visit Thonen-Fleck 1.26.18                                                        KADEL006700-006707            M
             42   Wake Forest Baptist Medical Center Visit Thonen-Fleck 3.6.18                                                         KADEL006266-006270            M
             43   Wake Forest Baptist Medical Center Visit Thonen-Fleck 3.23.18                                                        KADEL006303-006309            M
             44   Wake Forest Baptist Medical Center Visit Thonen-Fleck 8.2.18                                                         KADEL006714                   M
             45   Wake Forest Baptist Medical Center Visit Thonen-Fleck 9.21.18                                                        KADEL006715                   M
             46   The Cosmetic Concierge 10.17.18                                                                                      KADEL006105-006106            M
             47   Wake Forest Baptist Medical Center Visit Thonen-Fleck 2.5.19                                                         KADEL006331                   M
             48   The Cosmetic Concierge 3.20.19                                                                                       KADEL006108-006110            M
             49   Bathory International PLLC Psychological Evaluation Thonen-Fleck                                                     KADEL006111-006119            M
             50   Procedure Notes, Hope Sherie, MD                                                                                     KADEL006150                   M
             51   Consent for Procedure, The Cosmetic Concierge 5.28.19                                                                KADEL006161-006162            M
             52   Creditable Service of NC, Bunting 9.10.90                                                                                                          M
             53   Pre-Offer Notice to Applicant, Bunting 9.10.90                                                                                                     M
             54   Enrollment Application, Bunting 9.24.90                                                                                                            M
             55   Personal Benefits Statement, Bunting 1992                                                                                                          M
             56   Change Form, Bunting                                                                                                                               M
             57   Handwritten Note re Witholding 4.23.97                                                                                                             M
             58   Recruitment , Bunting 1999                                                                                                                         M
             59   Personnel Information Form UNC Chapel Hill, Bunting                                                                                                M
             60   UNC Appointment Employment Letter, Bunting                                                                                                         M
             61   EHRA Faculty Appointee Conditions of Employment, Bunting 11.17.16                                                                                  M




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 62   Annual Performance Appraisal, Bunting                                                                                        M
 63   Letter to Bubba Cunningham 1.28.19                                                                                           M
 64   SHRA NEW Employee Orientation                                                                                                M
 65   UNC HR Combined Benefits updated 9.29.2015                                                                                   M
 66   2016 UNC 2016 Benefits Summary                                                                                               M
 67   Employee History of Changes, Bunting                                                                                         M
 68   NC State Health Plan Enhanced 80/20 PPO Plan Benefits Booklet Jan 1-Dec 31, 2017                   PLAN DEF0117300-0117402   M
 69   NC State Health Plan Enhanced 80/20 PPO Plan Benefits Booklet Jan 1-Dec 31, 2018                                             M
 70   LGBTQ Center UNC Background Discussion with Terri Phoenix                                                                    M
 71   Resolution of the Employee Forum UNC Chapel Hill 2.21.19                                                                     M
 72   Encounters, C.Bunting                                                                              KADEL007078-007155        M
 73   Chapel Hill Children Adolescents Clinic Account Inquiry                                            KADEL007156-007161        M
 74   UNC Health Visit 12.7.18                                                                           KADEL007400-007427        M
 75   UNC Health Visit 2.8.19                                                                            KADEL007373-007399        M
 76   UNC Physicians Account                                                                             KADEL00315116-00315119    M
 77   Duke Health Visit Summary C.B. 8.25.17                                                             KADEL006855-006878        M
 78   Duke Health Itemized Services C.B. 4.1.2020                                                                                  M
 79   EmergeOrtho, P.A. Billing Summary                                                                  KADEL006797-006803        M
 80   Health Insurance Marketplace Application 11.15.2018                                                                          M
 81   Patient Financial History, C.B.                                                                    KADEL006783               M
 82   Duke Health Progress Notes 6.2.19                                                                  KADEL127987-127997        M
 83   Chapel Hill Pediatric Psychology Assessment                                                        KADEL00315075-00315087    M
 84   Letter from Shelley Bunting                                                                                                  M
 85   Shelley Bunting Narrative                                                                                                    M
 86   Testimony of Shelley Bunting, NCSHP Board of Trustees Meeting 10.22.2018                                                     M
 87   UNC Health Visit 8.21.2020                                                                         KADEL007201-007216        M
 88   Email From: Mona Moon Re Fiscal Imact of SHP 11.21.16                                              PLAN DEF0051364-0051365   M
 89   NC State Health Plan Informational Materials 11.16.16                                              PLAN DEF0029541-0029546   M
 90   Email From: Mona Moon Re SHP Board Agenda 11.27.16                                                 PLAN DEF0014041-0014043   M
 91   Email Blake Thomas 11.29.16                                                                        PLAN DEF0016424-0016426   M
 92   Email Rebecca Martinez Fitzgerald 8.12.16                                                          PLAN DEF0098632-0098633   M
 93   Statement on State Health Plan Coverage of Sex Change Operations 10.24.18                          PLAN DEF0021499           M
 94   Handwritten Note on NC State Health Plan                                                           PLAN DEF0160914           M
 95   Encounters, C.Bunting 9.2.16                                                                       KADEL006568-006578        M
 96   The Center for Holistic Healing Visit Summaries                                                    KADEL006183-006196        M
 97   Blue Cross Blue Shield of NC Explanation of Benefits March 2018                                    KADEL00310136-00310137    M
 98   Blue Cross Blue Shield of NC Explanation of Benefits January 2018                                                            M
 99   Wake Forest Baptist Medical Center Visit Summary 2.5.19                                            KADEL006331-006337        M
100   Mood Treatment Center, Thonen-Fleck                                                                KADEL007707-007708        M
101   Wake Forest Baptist Medical Center Visit 4.4.17                                                    KADEL006660-006670        M
102   Wake Forest Baptist Medical Center Visit 9.2.18                                                    KADEL006715               M
103   Email From: Alexis Thonen to Dr. Bathory                                                           KADEL00313033             M
104   Confirmation Statement, Open Enrollment Elections Jason Fleck                                                                M
105   View Hire, Kadel                                                                                                             M
106   UNC HR Annual Perfomance Appraisal Form, Kadel                                                                               M
107   School of Government Onboarding Schedule, Kadel 10.10.16                                                                     M
108   UNC Earnings, Credit Union Kadel                                                                                             M
109   UNC Earnings, Kadel 11-12.19                                                                                                 M
110   UNC Earnings, Kadel 10.19                                                                                                    M
111   Insurance Verification Form , Miriam Brodersen, LCSW                                               KADEL00315073             M
112   Member Claim form                                                                                                            M
113   Chapel Hill Community Health Center Visit, Kadel 5.5.18                                            KADEL007603-007605        M
114   Chapel Hill Community Health Center Visit, Kadel 11.2.18                                           KADEL007595-007596        M
115   Chapel Hill Community Health Center Visit, Kadel 10.17.18                                          KADEL007597-007602        M
116   Chapel Hill Community Health Center Visit, Kadel 3.9.16                                            KADEL00312922-00312926    M
117   Chapel Hill Community Health Center Visit, Kadel 4.4.16                                            KADEL007643-007647        M
118   Chapel Hill Community Health Center Visit, Kadel 8.14.16                                           KADEL007638-007642        M
119   Chapel Hill Community Health Center Visit, Kadel 6.16.16                                           KADEL007633-007637        M
120   Wellness Center Client Assessment 6.3.16                                                           KADEL00315624-00315634    M
121   Initial Evaluation, Miriam Brodersen 7.18.17                                                       KADEL00315064-00315065    M
122   Letter from Miriam Brodersen LCSW 10.18.18                                                         KADEL005101               M
123   Extended Letter from Miriam Brodersen LCSW 10.18.18                                                KADEL004897-004898        M




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124   Letter from Eli Ogburn, MSW LICSW                                                                                                                                             KADEL005079-005080        M
125   Letter to BCBS Appeals Department, Noah E. Lewis 12.10.18                                                                                                                     KADEL00315738-00315769    M
126   NC State Payroll, Pranger 7.18                                                                                                                                                KADEL00313008             M
127   NC State Health Plan Notice 8.7.2017                                                                                                                                          KADEL00313071-00314245    M
128   Blue Cross Blue Shield Corporate Medical Policy                                                                                                                               PLAN DEF0153298-0153306   M
129   Piedmont Plastic Surgery and Dermatology, Financial Responsibilities Pranger                                                                                                  KADEL004112-004113        M
130   Piedmont Plastic Surgery and Dermatology, Financial History Pranger                                                                                                           KADEL00312601-00312602    M
131   Blue Cross Blue Shield Explanation of Benefits September 2017                                                                                                                                           M
132   Blue Cross Blue Shield Explanation of Benefits July 2017                                                                                                                                                M
133   Claim Summary, Pranger                                                                                                                                                        PLAN DEF194506            M
134   Claims Detail                                                                                                                                                                 PLAN DEF167501            M
135   Planned Parenthood South Atlantic Visit 4.11.17                                                                                                                               KADEL004130-004137        M
136   Planned Parenthood Visit 1.11.19                                                                                                                                              KADEL004094-004098        M
137   Visit with Patricia Adams, LCSW 8.29.2017                                                                                                                                     KADEL004201-004213        M
138   Letter from Molly Parks Psy.D. 7.17.17                                                                                                                                        KADEL004182-004183        M
139   Letter from Karen C DeVane ASCW, LCSW 6.21.17                                                                                                                                 KADEL00311952             M
140   Intake Questionnaire, Sarah Baesmith LCSW, LMSW 10.31.19                                                                                                                      KADEL00316868-00316871    M
141   Diagnosis & Treatment Plan, Sarah Baesmith LCSW, LMSW 11.14.19                                                                                                                KADEL00317001             M
142   Chart Note, Sarah Baesmith LCSW, LMSW 4.6.2020                                                                                                                                KADEL00316925             M
143   Psychotherapy Note, Sarah Baesmith LCSW, LMSW                                                                                                                                 KADEL004487               M
144   Standard Progress Note, Sarah Baesmith LCSW, LMSW                                                                                                                             KADEL00316958-00316959    M
145   Planned Parenthood South Atlantic Visit 2.4.2020                                                                                                                              KADEL004185-004191        M
146   Syracuse University Counseling Center, Pranger                                                                                                                                KADEL004104-004110        M
147   Curriculum Vitae, Loren Schechter, M.D. FACS                                                                                                                                                            M
148   Article: Transgender Surgery, Ann Transl Med 2021,9(7):605                                                                                                                                              M
149   Article: 'Reduction in Mental Health Treatment Utilization Among Transgender… ' Am J Psychiatry 177:8, August 2020                                                                                      M
150   Letters to the Editor, Am J Psychiatry 177:8, August 2020                                                                                                                                               M
151   Article: 'Long-Term Follow-Up of Transsexual Persons…' PlosOne, February 2011, Vol. 6, Issue 2,e16885                                                                                                   M
152   Article: 'Correction: Parent Reports of …Rapid Onset of Gender Dysphoria' PlosOne,https://doi.org/10.1371/journal.pone.0214157                                                                          M
153   Article: ' Formal Comment on: Parent Reports…' PlosOne,https://doi.org/10.1371/journal.pone.0214157                                                                                                     M
154   Psychiatric Misadventures' by Paul R. McHugh, The American Scholar                                                                                                                                      M
155   Outcome of Sex Reassgnment Surgery for Transsexuals' by Ira B. Pauly; Aus. And NZ Jrnl of Psychiatry (1981) 15:45-51                                                                                    M
156    'Neurobiology of Gender Identity and Sexual Orientation' by C.E. Roselli J Neuroendocrinol. 2018 July ; 30(7): e12562. doi:10.1111/jne.12562                                                           M
157   Transgender, Gender Identity, and Gender Expression Non-Discrimination' Anton, B. S. (2009) American Psychologist, 64, 372-453. doi:10.1037/a0015932                                                    M
158   Article: 'Surgical Sex, Why We Stopped Doing Sex Change Operations' by Paul R. McHugh, November 2004                                                                                                    M
159   Article: 'The Rise and Fall of Gender Identity Clinics in the 1960s and 1970s' FACS Bulletin, April 2021                                                                                                M
160   Case Western Reserve University 'Lesbian Gay Bisexual Transgender Center' (https://case.edu/lgbt/)                                                                                                      M
161   On Gender Dysphoria by Cecilia Dhejne; Department of Clinical Neuroscience, Karolinska Instituet, Stockholm, Sweden                                                                                     M
162   Article: 'Long-Term Follow-Up…Somatic Morbidity and Cause of Death' Sex Med 2016; 4:e60-e68                                                                                                             M
163   A Typology of Gender Detransition and its implications for Healthcare Providers' by Pablo Exposito-Campos, Journal of Sex and Marital Therapy 2021, Vol.47., No. 3, 270-280                             M
164   Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons…' Clinical Practice Guideline                                                                                                        M
165   Pediatric Obesity- Assessment, Treatment, and Prevention…' Clinical Practice Guideline                                                                                                                  M
166   State Employee Retirement System Form, Dana Caraway 12.14.98                                                                                                                                            M
167   State of North Carolina Department of Justice General Certification, Dowd Evans Caraway                                                                                                                 M
168   NCDPS STS History (ST03) Report 8.2.21                                                                                                                                        NCDPS000500-000505        M
169   Transcript Report, Dowd Caraway                                                                                                                                               NCDPS 000506-000521       M
170   Confirmation Statement, Open Enrollment Elections, Dowd Caraway                                                                                                               NCDPS 000422-000427       M
171   First Amended Complaint for Declaratory Injunctive and Other Relief Doc. No. 75                                                                                                                         M
172   Letter from Bariatric Coordinator, Lisa Craig to Hickory Surgical Clinic                                                                                                      NCDPS 001337              M
173   D. Caraway Pay Slip 5.2020                                                                                                                                                    KADEL00312595             M
174   Patient Procedure History, D. Caraway                                                                                                                                         KADEL005388-005389        M
175   Planned Parenthood Invoice, D. Caraway                                                                                                                                        KADEL00316718-00316730    M
176   The Pisgah Institute Account Information Report, D. Caraway                                                                                                                   KADEL005139-005140        M
177   Walgreens Prescription Profile, D. Caraway                                                                                                                                    KADEL00316751-00316758    M
178   Article: 'International Clinical Practice Guidelines for Gender Minority/Trans People…' BMJ Open 2021; 11:e048943                                                                                       M
179   Article: 'Expertise in Psycotherapy, An Elusive Goal' by Terence J,G. Tracey, Amer. Psych. April 2014 Vol. 69, No. 3, 218-229                                                                           M
180   Article: 'Reassessing Mental Health Treatment Utilization Reduction in Transgender Individuals…' Am J Psychiatry 177:8 August2020                                                                       M
181   Article: 'A Follow-Up Study of Boys with Gender Identity Disorder' Frontiers in Psychiatry, March 2021 Vol. 12 Article 632784                                                                           M
182   Article: ' Short-Term outcomes of Pubertal Suppression in a Selected Cohort…' PlosOne February 2021                                                                                                     M
183   Article: 'Puberty Blockers and Suicidality in Adolescents Suffering from Gender Dysphoria' by Michael Biggs Archives of Sexual Behaviour, 3.6.2020                                                      M
184   Article: 'Association Between Gender Confirmation Treatments and Perceived Gender Congruence…' J Sex Med. 2018 April; 15(4):591-600                                                                     M
185   Clinical Practice Guidelines We Can Trust, Institute of Medicine 2011                                                                                                         PLAN DEF 203414-203704    M




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186   Article: 'Gender-Affirming Surgeries and Improved Psychosocial Health Outcomes' JAMA Surgery July 2021 Vol. 156, Number 7                                                                       M
187   Email From: Dale Folwell RE Reporter Interview, 10.25.18                                                                                                              PLAN DEF0033668           M
188   Merck Manual Professional Version, 'Gender Dysphoria (Gender Incongruence)' by George R. Brown                                                                                                  M
189   Merck Manual Professional Version, 'Gender Dysphoria (Gender Incongruence)' by George R. Brown, Bibliography                                                                                    M
190   Evidence Review: Gender-Affirming Hormones for Children and Adolescents with Gender Dysphoria, NICE October 2020                                                                                M
191   Article: 'Puberty Suppression in Adolescents with Gender Identity Disorder: A Prospective Follow-Up Study' J Sex Med 2011; 8:2276-2283                                                          M
192   Article: 'Considering Sex as a Biological Variable in Basic and Clinical Studies…' Endocrine Review,2021 Vol. 42, No. 3, 219-258                                                                M
193   Article: 'Chest Reconstruction and Chest Dysphoria in Transmasculine Minors and Young Adults…' by Johanna Olson-Kennedy, M.D., JAMA Pediatrics                                                  M
194   Article: 'Young Adult Psychological Outcome After Puberty Suppression and Gender Reassignment' Pediatrics 2014;134;696                                                                          M
195   Article: 'Psychological Functioning, Parenting Stress, and Parental Support Among Clinic-Referred Prepubertal Gender-Expansive Children' Amer. Psych Assoc. 2019                                M
196    Article: 'Policy Change Regarding Hormonal Treatment of Minors with Gender Dysphoria at Tema Barn-Astrid Lingren Children's Hospital' by F.Gauffins and S.Norgren                              M
197   Royal Courts of Justice, Judgment on Appeal, in Bell v Tavistock and Portman NHS Foundation Trust , September 17, 2021                                                                          M
198   Evidence Review: Gonadotrphin releasing hormone analogues for children and adolescents with gender dysphoria, NICE October 2020                                                                 M
199   Article: 'Treatment of Central Precocious Puberty' by Erica A.Eugster, Journal of the Endocrine Society, May 2019 Vol. 3, Iss. 5                                                                M
200   The Use of Cross-Sex Steroids in the Treatment of Gender Dysphoria' by Paul W. Hruz, M.D. 2017                                                                                                  M
201   Article: 'Mental Healthcare Utilization of Transgender Youth Before and After Affirming Treatment' J Sex Med 2021;18:1444-1454                                                                  M
202   Article: 'Understanding the Role of Puberty in Structural and Functional Development of the Adolescent Brain' Journal of Research on Adolescence, 29(1), 32-53 2019                             M
203   Article: 'The Amsterdam Cohort of Gender Dysphoria Study (1972-2015)…' J Sex Med 2018;15:582e590                                                                                                M
204   Article: ' Regret in Surgical Decision Making: A Sytematic Review of Patient and Physician Perspectives' World J Surg (2017) 41:1454–1465                                                       M
205   Article: 'A Typology of Gender Detransition and Its Implications for Healthcare Providers' Journal of Sex and Marital Therapy January 2021                                                      M
206   Corporate Medical Policy; Blue Cross Blue Shield of NC, Gender Affiemation Surgery and Hormone Therapy                                                                                          M
207   Antiandrogen or estradiol treatment or both during hormone therapy in transitioning transgender women', Cochrane Library                                                                        M
208   North Carolina State Health Plan Traditional 70/30 PPO Plan Benefits Booklet Jan 1-Dec 31, 2017                                                                       PLAN DEF0072540-0072639   M
209   Article: ' The Emperor of junk science forensics has died' by Radley Balko 8.31.17 Washington Post Opinion                                                                                      M
210   Specialty Guidelines for Forensic Psychology, American Psychologist, January 2013                                                                                                               M
211   Article: 'Quality of Life following Male-to-Female Sex Reassignment Surgery' Deutsches Ärzteblatt International 2019; 16: 253–60                                                                M
212   Article: 'Brain Sex Differences Related to Gender Identity Development: Genes or Hormones' Int. J. Mol. Set 2020,21,2123                                                                        M
213   Article: 'The Neuroanatomy of Transgender Identity: Mega-Analytic Findings from the ENIGMA Transgender Persons Working Group' The Journal of Sexual Medicine                                    M
214   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 12/1-2/2016                                                                                                      PLAN DEF 153129-153544    M
215   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 7/24/2017                                                                                                        PLAN DEF 154013-154032    M
216   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 9/19/2017                                                                                                        PLAN DEF 154033-154111    M
217   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 11/28/2017                                                                                                       PLAN DEF 154112-154194    M
218   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 7/17/2018                                                                                                        PLAN DEF 154306-154352    M
219   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 8/30/2018                                                                                                        PLAN DEF 154353-154430    M
220   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 10/22/2018                                                                                                       PLAN DEF 154431-154495    M
221   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 12/10/2018                                                                                                       PLAN DEF 154496-154555    M
222   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 8/27/2019                                                                                                        PLAN DEF 154617-154659    M
223   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 7/14/2020                                                                                                        PLAN DEF 154810-154845    M
224   Agenda, Meeting Materials, and Minutes – NCSHP BoT – 8/30/2018                                                                                                        PLAN DEF 154353-154430    M
225   Email from Susan Murray to Mona Moon – 10/19/2016                                                                                                                     PLAN DEF 24574-24575      M
226   Email from Lotta Crabtree to Mona Moon – 7/7/2016                                                                                                                     PLAN DEF 64066-64069      M
227   Draft Motion for 2016 Board meeting – 12/1/2016                                                                                                                       PLAN DEF 195206           M
228   Motion to Delay Action – 12/1/2016                                                                                                                                    PLAN DEF 195207           M
229   BCBS Corporate Medical Policy – 2013                                                                                                                                  PLAN DEF 101204-101209    M
230   CVS Health Notice – June 2016                                                                                                                                         KADEL 263-264             M
231   BCBS Corporate Medical Policy – 2015                                                                                                                                  PLAN DEF 95847-95852      M
232   WPATH 7                                                                                                                                                               PLAN DEF 95895-96104      M
233   Email from Susan Murray to Mark Collins – 11/23/2016                                                                                                                  PLAN DEF 89769-89773      M
234   Text of Board Approval – 12/2/2016                                                                                                                                    PLAN DEF 47017            M
235   Text of Board Approval – 12/2/2016                                                                                                                                    PLAN DEF 25294            M
236   Notice of Preliminary Injunction -- 1/3/2017                                                                                                                          PLAN DEF 83952            M
237   Preliminary Injunction (Burwell)                                                                                                                                      PLAN DEF 106442-106687    M
238   CVS Lupron UM – 2017                                                                                                                                                  PLAN DEF 7523             M
239   Testosterone UM – 2017                                                                                                                                                PLAN DEF 52245-52248      M
240   BCBS Medical Policy – Sept 2016                                                                                                                                       PLAN DEF 8671-8679        M
241   BCBS Medical Policy – May 2017                                                                                                                                        KADEL 310167-310174       M
242   Pharmacy & Therapeutics Committee Meeting Materials – 8/22/2017                                                                                                       PLAN DEF 113829-113957    M
243   Section 1557 Sheet                                                                                                                                                    PLAN DEF 28945            M
244   Email from Susan Murray to David Cozart – 9/18/2017                                                                                                                   PLAN DEF 58748            M
245   PBM Decision Memo – effective 1/1/2018                                                                                                                                PLAN DEF 54530            M
246   Fertility Agent SGM                                                                                                                                                   PLAN DEF 13578-13580      M
247   Lupron SGM                                                                                                                                                            PLAN DEF 190256-190257    M




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248   Testosterone SGM (Oral)                                                                                                                                             PLAN DEF 190046-190047         M
249   Testosterone SGM                                                                                                                                                    PLAN DEF 190263-190266         M
250   Triptodur SGM                                                                                                                                                       PLAN DEF 170376                M
251   Eligard SGM                                                                                                                                                         PLAN DEF 170356-170347         M
252   Supprelin SGM                                                                                                                                                       PLAN DEF 170372-170373         M
253   Vantas SGM                                                                                                                                                          PLAN DEF 170375                M
254   Trelstar SGM                                                                                                                                                        PLAN DEF 170374                M
255   Zoladex SGM                                                                                                                                                         PLAN DEF 170348-170349         M
256   Email from Dee Jones with attached cost savings report                                                                                                              PLAN DEF 105261, 78712-78722   M
257   Email from Peter Robie to Dee Jones and Dale Folwell                                                                                                                PLAN DEF 76131                 M
258   BCBS Policy – Breast Surgery                                                                                                                                        PLAN DEF 190052-190069         M
259   BCBS Policy – Gender Confirmation Surgery                                                                                                                           PLAN DEF 190815-190823         M
260   Handwritten Treasurer 2018 Statement                                                                                                                                PLAN DEF 160914                M
261   Segal Report – January 2021                                                                                                                                         PLAN DEF 166382-166383         M
262   Dec 2020 Financial Status Report – NCSHP                                                                                                                            PLAN DEF 195130                M
263   Dec 2016 Financial Status Report – NCSHP                                                                                                                            PLAN DEF 195117                M
264   Dec 2018 Financial Status Report – NCSHP                                                                                                                            PLAN DEF 195118-195119         M
265   Dec 2014, 2015, 2017, 2019 Financial Status Report – NCSHP                                                                                                          PLAN DEF 195158-195162         M
266   Feb 2021 Financial Status Report – NCSHP                                                                                                                            PLAN DEF 195120                M
267   Benefit Book 70/30 Plan – 2016                                                                                                                                      PLAN DEF 78510-78610           M
268   Benefit Book 80/20 Plan – 2016                                                                                                                                      PLAN DEF 116589-116694         M
269   Benefit Book 70/30 Plan – 2014                                                                                                                                      PLAN DEF 114474-114565         M
270   Benefit Book 80/20 Plan – 2014                                                                                                                                      PLAN DEF 114566-114662         M
271   GRADE Diagnoses                                                                                                                                                     PLAN DEF 204451-204455         M
272   Plaintiff CVS Charges                                                                                                                                               PLAN DEF 205489-205521         M
273   Guidelines we can Trust                                                                                                                                             PLAN DEF 203414-203704         M
274   BCBS Medical Policy – Experimental/Investigative treatments                                                                                                         BLUECROSSNC 2968-2974          M




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